Case 6:16-CV-0097O-RBD-TBS Document 74 Filed 05/08/18 Page 1 of 1 Page|D 948

AO 440 (Rev. 06/12) Summoos in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle nisuict of Florida E|

 

 

UNlTED STATES OF AN|ER|CA, EX )
REL. BARBARA BERN|ER; BARBARA BERNIER; )
and, ESE LOVE, )
)
P)ainny(s) )
V. g Civil Action No_ 6!16-CV-00970-RBD-TBS
lNFlLAW CORPORAT|ON; CHARLOTTE SCHOOL )
OF LAW. LLC; AMERICAN BAR ASSOC|AT|ON, )
)
)
Defendant(s) )
SUNINIONS IN A CIVIL ACTION

T°: mdenda"tls name and address American Bar Association, d/b/a Accreditation Committee of the Section of Lega|
. Education and Admissions to the Bar

Attn: Barry A. Currier, Managing Director, Accreditation and Lega| Education
321 North C|ark Street, 21st Floor
Chicago, |L 60654-7598

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States ageney, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintist attomey,

whose name and address are: Co|eman W. Watson, Esq.

189 South Orange Avenue,
Suite 810
Or|ando, F|orida 32801

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion with the court.

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